Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 1 of 64 PageID 606




        EXHIBIT A
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 2 of 64 PageID 607
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 3 of 64 PageID 608
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 4 of 64 PageID 609
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 5 of 64 PageID 610
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 6 of 64 PageID 611
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 7 of 64 PageID 612
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 8 of 64 PageID 613
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 9 of 64 PageID 614
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 10 of 64 PageID 615
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 11 of 64 PageID 616
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 12 of 64 PageID 617
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 13 of 64 PageID 618
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 14 of 64 PageID 619
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 15 of 64 PageID 620
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 16 of 64 PageID 621
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 17 of 64 PageID 622
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 18 of 64 PageID 623
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 19 of 64 PageID 624
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 20 of 64 PageID 625
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 21 of 64 PageID 626
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 22 of 64 PageID 627
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 23 of 64 PageID 628
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 24 of 64 PageID 629
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 25 of 64 PageID 630
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 26 of 64 PageID 631
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 27 of 64 PageID 632
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 28 of 64 PageID 633
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 29 of 64 PageID 634
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 30 of 64 PageID 635
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 31 of 64 PageID 636
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 32 of 64 PageID 637
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 33 of 64 PageID 638
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 34 of 64 PageID 639
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 35 of 64 PageID 640
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 36 of 64 PageID 641
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 37 of 64 PageID 642
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 38 of 64 PageID 643
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 39 of 64 PageID 644
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 40 of 64 PageID 645
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 41 of 64 PageID 646
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 42 of 64 PageID 647
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 43 of 64 PageID 648
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 44 of 64 PageID 649
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 45 of 64 PageID 650
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 46 of 64 PageID 651
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 47 of 64 PageID 652
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 48 of 64 PageID 653
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 49 of 64 PageID 654
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 50 of 64 PageID 655
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 51 of 64 PageID 656
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 52 of 64 PageID 657
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 53 of 64 PageID 658
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 54 of 64 PageID 659
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 55 of 64 PageID 660
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 56 of 64 PageID 661
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 57 of 64 PageID 662
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 58 of 64 PageID 663
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 59 of 64 PageID 664
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 60 of 64 PageID 665
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 61 of 64 PageID 666
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 62 of 64 PageID 667
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 63 of 64 PageID 668
Case 3:22-cv-00197-MMH-JBT Document 1-2 Filed 02/22/22 Page 64 of 64 PageID 669
